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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 21-3316 GW (PVC)                             Date: September 30, 2021
Title           Izaz Khan v. LAPD Olympic Station, et al.


        Plaintiff is advised that pursuant to the Central District’s Local Rule 41-6, he must
keep the Court informed of his current address of record or the Court may dismiss his
action:

        A party proceeding pro se must keep the Court and all other parties
        informed of the party’s current address as well as any telephone number
        and email address. If a Court order or other mail served on a pro se
        plaintiff at his address of record is returned by the Postal Service as
        undeliverable and the pro se party has not filed a notice of change of
        address within 14 days of the service date of the order or other Court
        document, the Court may dismiss the action with or without prejudice for
        failure to prosecute.

C.D. Cal. L.R. 41-6.

        Plaintiff is therefore ORDERED TO SHOW CAUSE by October 14, 2021 why
this action should not be dismissed pursuant to Local Rule 41-6 for Plaintiff’s failure to
provide a current address. 1 Plaintiff may satisfy this Order by filing a response with his
current address.




1
  Fourteen days after service of the Court’s Assignment Notice, which was mailed on
April 20, 2021, was May 4, 2021. Fourteen days after service of the IFP Order, which
was mailed on April 26, 2021, was May 10, 2021. Finally, fourteen days after service of
the Appointment of Counsel Order, which was mailed on June 1, 2021, was June 15,
2021. Accordingly, the fourteen-day deadline set by the Local Rules for Plaintiff to
provide an updated address with respect to each of these Orders has long expired.
However, because Plaintiff is proceeding pro se, the Court sua sponte extends the
deadline for updating his address to October 14, 2021, to allow Plaintiff one more
opportunity to comply with his obligation to keep the Court informed of his current
address.

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